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 4                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
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 6 TIFFANY KEITH and STEVEN KEITH,                   Case No.: 2:22-cv-00059-ART-DJA
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                Plaintiff,                           ORDER GRANTING
 8                                                   STIPULATION OF DISMISSAL
     v.                                              WITH PREJUDICE AS TO
 9                                                   DEFENDANT FREEDOM
   TRANS UNION LLC; EQUIFAX                          MORTGAGE CORPORATION
10 INFORMATION SERVICES, LLC; and
   FREEDOM MORTGAGE CORPORATION,
11

12              Defendants.

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            Before the Court is the parties’ Stipulation of Dismissal with Prejudice as to Defendant
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     Freedom Mortgage Corporation. After careful review, and good cause appearing,
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16          IT IS ORDERED that the Stipulation is GRANTED.

17          The above-entitled matter is hereby dismissed with prejudice as to Defendant Freedom

18   Mortgage Corporation.
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            IT IS SO ORDERED.
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21
        June 24, 2022
22   Dated                                               Honorable Anne R. Traum
                                                         United States District Judge
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